       Case 1:23-cv-06414-JGK          Document 120         Filed 02/29/24     Page 1 of 2




                                                                               ABBE DAVID LOWELL
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                                        February 29, 2024

VIA ECF

Hon. John G. Koeltl
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Banco San Juan Internacional, Inc. v. the Federal Reserve Bank of New York
               and the Board of Governors of the Federal Reserve System, No. 1:23-cv-6414
               (JGK)

Dear Judge Koeltl:

       Counsel for Plaintiff Banco San Juan Internacional, Inc. (“BSJI”) writes pursuant to
Section VI.2 of the Court’s Individual Practices to request leave to file under seal certain
information contained in Plaintiff’s forthcoming Amended Complaint. Defendants had not
responded to BSJIs’ request to consent to this motion at the time of submission.

        The allegations BSJI requests leave to redact concern information from or shared with
BSJI’s Supervisor, the Office of the Commissioner of Financial Institutions of Puerto Rico
(“OCIF”), as well as information regarding private examiners’ reports on BSJI’s compliance
programs and business operations. This Court previously granted BSJI leave to file under seal, or
redact, similar information in relation to BSJI’s reply brief in support of its motion for a
preliminary injunction (ECF No. 71) as well as the FRBNY’s opposition brief (ECF No. 60).
Additionally, prior to this case being assigned to Your Honor, the Honorable Judge Loretta Preska
found good cause existed to redact the same or similar allegations in BSJI’s original complaint that
BSJI seeks to redact here. Case No. 1:23-mc-00241-LAP (ECF No. 3). The new allegations BSJI
now seeks to redact are narrowly tailored and reflect additional information concerning BSJI’s
supervisor, OCIF, disclosure of which would violate Puerto Rican law. See Article 10(b)(9) of
Regulation 5653.

       This Court enjoys broad discretion in sealing or redacting documents upon a showing of
good cause, and BSJI’s request is consistent with this Court’s prior sealing orders. Accordingly,
BSJI respectfully submits that good cause has been shown, and requests that this letter motion be
granted.
      Case 1:23-cv-06414-JGK        Document 120   Filed 02/29/24       Page 2 of 2

                                                                        Hon. John G. Koeltl
                                                                         February 29, 2024
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                                              Respectfully submitted,

                                              /s/ Abbe D. Lowell

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cc:   Counsel for All Parties (via ECF)
